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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                             NEW ALBANY DIVISION

 IN RE:
                                                      Case No. 22-90227-AKM-11
 TRINITY GUARDION, INC.,
                                                      CHAPTER 11
                           Debtor.


                            NOTICE OF APPEARANCE


      Brian R. Pollock of the law firm of Stites & Harbison PLLC, pursuant to Federal

Rule of Bankruptcy Procedure 9010 and Local Rule B-9010-1, provides notice of his

appearance in the above captioned case on behalf of Trinity Guardion Investments LLC

and TGuardion Investments LLC and requests documents filed in this case be served

upon him as follows:

      Brian R. Pollock (bpollock@stites.com)
      STITES & HARBISON PLLC
      400 West Market Street, Suite 1800
      Louisville, KY 40202-3352
      Telephone: (502) 587-3400
      Facsimile:    (502) 587-6391

The undersigned authorizes service by e-mail at the above address.
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April 14, 2022                                  Respectfully submitted,


                                                /s/ Brian R. Pollock
                                                Brian R. Pollock (bpollock@stites.com)
                                                STITES & HARBISON PLLC
                                                400 West Market Street, Suite 1800
                                                Louisville, KY 40202-3352
                                                Telephone: (502) 587-3400
                                                Facsimile:     (502) 587-6391
                                                Counsel for Trinity Guardion Investments LLC
                                                and TGuardion Investments LLC

                             CERTIFICATE OF SERVICE

      I hereby certify that on April 14, 2022, a copy of the foregoing NOTICE OF
APPEARANCE was filed electronically. Notice of this filing will be sent through the
Court’s Electronic Case Filing System. Parties may access this filing through the Court’s
system.


                                         /s/ Brian R. Pollock
                                         Brian R. Pollock




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